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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
Joshua Winer,
             Plaintiff,
                                                   Case No. 1:25-CV-02329
v.

Umaymah Mohammad, AJP Educational
Foundation, Inc. A/K/A American Muslims
for Palestine, WESPAC Foundation, Inc.,
Sean Eren as the representative of National
Students for Justice in Palestine, Doctors
Against Genocide Society, CAIR-Nga Inc.
A/K/A CAIR-Georgia, CAIR Foundation
Inc., A/K/A Council on Islamic Relations or
CAIR, Rupa Marya, Ibrahim Jouja as
representative of Emory Students for
Justice in Palestine.
             Defendants.


  DEFENDANT CAIR-NGA, INC.’S BRIEF IN SUPPORT OF ITS
MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
      Defendant CAIR-Nga, Inc., A/K/A CAIR-Georgia (“CAIR GA”), hereby files
this Brief in Support of its Motion to Dismiss Plaintiff’s First Amended Complaint
for failure to state a claim upon which relief can be granted.

                                  INTRODUCTION
      Since October 2023, American politics and news have been dominated by the
Israeli-Palestinian crisis. The Washington Post reported on June 12, 2025, that 56,000

Palestinians, mostly civilians, have been killed in the conflict so far.1 Many in the U.S.

1
 Wafaa Shurafa and Samy Magdy, Gaza health authorities say Israel kills 44 waiting
for aid as war’s death toll passes 56,000, WASH. POST, Jun. 24, 2025. Article
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and abroad have questioned whether Israel’s actions in Gaza constitute genocide.
Amnesty International published a report concluding that Israel is committing

genocide against Palestinians.2 An appointed delegate to the United Nations reported
that “there are reasonable grounds to believe that the threshold indicating the
commission on the crime of genocide . . . has been met.”3 A federal district court agreed

with the International Court of Justice that “it is plausible that Israel’s conduct amounts
to genocide” after being presented with, inter alia, “statements made by various
officers of the Israeli government indicat[ing] that the ongoing military siege in Gaza

is intended to eradicate a whole people . . .” Def. for Children Int'l-Palestine v. Biden,
714 F. Supp. 3d 1160, 1163, 1167 (N.D. Cal. 2024).
      Many Americans disagree. Numerous editorials vehemently deny that genocide

has occurred, stressing that Israel’s war is against Hamas, not the people of Gaza, and
that Hamas is accused of maximizing civilian casualties.4
      The present dispute concerns this precise conflict of opinion: Is the Israeli army
participating in genocide? Plaintiff’s reputational claims in this case can only succeed


attached as Exhibit A. CAIR GA requests that the Court take judicial notice of the
articles cited herein, not for the truth of the articles, but as to the existence of
discourse around the war and accusations of genocide. See U.S. ex rel. Osheroff v.
Humana Inc., 776 F.3d 805, 812 n.4 (11th Cir. 2015) (“[C]ourts may take judicial
notice of documents such as the newspaper articles at issue here for the limited
purpose of determining which statements the documents contain (but not for
determining the truth of those statements).”).
2
  The Executive Summary is attached hereto as Exhibit B. The full report is available
at https://www.amnesty.org/en/documents/mde15/8668/2024/en/.
3
  The United Nations report is attached as Exhibit C.
4
  Op-eds from the Miami Herald, Washington Post, and New York Times are
attached hereto as Exhibit D.
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if the Court determines that accusing Israel’s army (and its soldiers) of genocide is a
false statement of fact, unprotected by the First Amendment. Because such assertions

are opinion-based political speech, based on accurate, disclosed facts, such speech
cannot be actionable.
      Plaintiff’s civil rights and conspiracy claims also fail because Plaintiff cannot

identify any state action or discriminatory animus. Ironically, this lawsuit is the
embodiment of an effort to use the government to silence constitutionally protected
political speech, such that the very rights Plaintiff invokes are the same constitutional

protections that bar his civil rights claims.

     It is significant that the guarantee of freedom of speech and press falls between
     the religious guarantees and the guarantee of the right to petition for redress of
     grievances in the text of the First Amendment. . . . It partakes of the nature of both,
     for it is as much a guarantee to individuals of their personal right to make their
     thoughts public and put them before the community . . . as it is a social necessity
     required for the “maintenance of our political system and an open society.”

Curtis Publ’g Co. v. Butts, 388 U.S. 130, 149 (1967).
                               BACKGROUND FACTS
I.    Plaintiff’s IDF Service
      Plaintiff Joshua Winer, a Jewish oncologist at Emory Medical Center and an
Emory medical professor, took a leave of absence from his professional duties to serve
as a surgeon in the Israeli army in an “elite reconnaissance unit[]” in Gaza. Id. ¶ 32–33.
He did so because of “religious, moral, and national responsibility.” Id. ¶ 11.

      Defendant Umaymah Mohammad, a Palestinian-American Ph.D. and medical
student at Emory and a student organizer for the Palestine liberation movement, sent
an email to students and faculty of Emory’s School of Medicine in January 2024

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expressing her political views that Israel, the United States, and Emory are
perpetrating a genocide against Palestinians. Id. ¶¶ 25–26. Dr. Winer received the

email and was “distraught” because it was sent in furtherance of Ms. Mohammad’s
“personal political agenda” and contained “false information about Israel as well as
political rhetoric with which he vehemently disagreed.” Id. ¶¶ 29–30.

       In March 2024, the Times of Israel published an editorial written by Dr. Winer
titled, “An Ongoing Quest to Serve,” in which he described volunteering for all
“military and civilian” positions in the IDF and serving in an elite reconnaissance

unit in Gaza. Id. ¶¶ 31-33.5 The editorial noted his affiliation with Emory.6
       In April 2024, Ms. Mohammed participated in an interview with Democracy
Now! in which she discussed Dr. Winer’s participation in the IDF:

      [An Emory medical professor] recently went to serve as a volunteer medic in the
      Israeli Offense Force and recently came back. This man participated in aiding and
      abetting a genocide, in aiding and abetting the destruction of the healthcare system
      in Gaza and the murder of over 400 healthcare workers, and is now back at Emory
      so-called teaching medical students and residents how to take care of patients. I
      mean the disconnect is, for me, very obvious.
Id. ¶¶ 12, 25, 35. On or about November 19, 2024, Ms. Mohammed was suspended
from Emory as a direct result of the Democracy Now! interview. Id. ¶¶ 42–48.
II.    CAIR GA’s Political Speech

       CAIR GA is a nonprofit organization dedicated to Muslim advocacy. Id. ¶ 18.
On February 11, 2025, CAIR GA held a press conference in which Ms. Mohammed


5
  blogs.timesofisrael.com/an-ongoing-quest-to-serve/. The article is incorporated in
the FAC at ¶ 31 n.4.
6
  Id.
                                       4
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spoke about her suspension from Emory, including the following excerpts:

      . . . I have been suspended for a year from medical school after being subjected
      to a six-month unjust conduct process. They disciplined me for exposing
      Emory’s complicity in the destruction of Gaza in an interview where I
      mentioned an unnamed physician who served in the military, actively engaged
      in the genocidal campaign against the Palestinian people. My people. . . Having
      a physician faculty member who participated in a military convicted of
      committing genocide against Palestinians makes me feel unsafe. . . I cannot
      learn from a physician who might have fired one of the 355 bullets that landed
      in 6-year-old Hind Rajab’s body. Or who might have helped make the decision
      to bomb one of the hospitals in Gaza. Or who might have celebrated the murder
      of our communities on the rubble still wet with Palestinian blood.

Id. ¶¶ 61, 119. CAIR GA’s executive director also spoke at the press conference:

      . . . You just heard from Umaymah Mohammad, an Emory student unjustly
      suspended from Emory School of Medicine for her advocacy for Palestine. It is
      evident that at Emory[], voicing support for victims of human rights violations
      is swiftly punished . . . [The fact] that faculty and students join support for
      Israel’s perpetration of war crimes is conveniently ignored or covered up.
Id. ¶ 121. Also on February 11, CAIR GA posted on social media a link to a petition

for Ms. Mohammed’s benefit and a news story from Atlanta news affiliate WSB,
which had republished a portion of Ms. Mohammad’s Democracy Now! interview. Id.
¶¶ 123–24. CAIR GA posted on Instagram on March 24 the following statement:

      Palestinian American student, Umaymah Mohammed, objected to working with
      an IDF soldier. Emory University unjustly suspended her. CAIR Georgia will
      continue to support Umaymah Mohammed as she challenges Emory University
      and its medical professionals’ complicity in the genocide in Gaza.
Id. ¶ 125. On March 24, 2025, CAIR GA’s executive director made the following
statement to the Guardian:




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     . . . [A] Palestinian medical student [] specifically joined the field trying to
     understand inequities and the role of medicine in violence. To have to work side
     by side with an IDF soldier is exacerbating, and makes it uniquely painful for her.

Id. ¶ 126.
      Dr. Winer filed the present lawsuit against CAIR GA, Ms. Mohammed, and
other organizations that made statements about Ms. Mohammed’s suspension,
alleging libel, false light, conspiracy, and civil rights violations. He states that the

accusations made by CAIR GA “automatically equating Jewish self-defense or
military service with crimes against humanity is emblematic of modern-day anti-
Semitic tropes.” Id. ¶ 9. Dr. Winer further claims that “[r]ather than merely

expressing disagreement with Plaintiff’s views or background, . . . Mohammed and
her co-conspirators undertook a coordinated effort to stigmatize, isolate, and
eliminate Plaintiff from his professional and academic life” by “encouraging others

to echo and amplify these claims in protest letters, student petitions, and social media
campaigns.” Id. ¶ 10. His lawsuit seeks punitive damages, the takedown of all the
above statements, and a prior restraint barring future speech. Id. ¶¶ 102–03.

                               LEGAL ARGUMENT
I.    Standard
      Rule of Civil Procedure 12(b)(6) allows the Court to dismiss a complaint for

“failure to state a claim upon which relief can be granted.” When reviewing a motion
to dismiss, the Court must take the allegations of the complaint as true and must
construe those allegations in the light most favorable to the plaintiff. Rivell v. Priv.
Health Care Sys., Inc., 520 F.3d 1308, 1309 (11th Cir. 2008) (per curiam). Although
a court must accept well-pleaded facts as true and make reasonable inferences in

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favor of the plaintiff, it need not accept the plaintiff's legal conclusions or
unwarranted deductions of fact. Chandler v. Sec'y of Fla. Dep't of Transp., 695 F.3d

1194, 1199 (11th Cir. 2012). Moreover, a libel claim “is a traditionally disfavored
cause of action and the courts tend to construe the complaint by a somewhat stricter
standard.” Escort v. Verizon Commc’ns, Inc., 2005 WL 8155369, at *3 (N.D. Ga.

2005) (citation omitted). In a motion to dismiss, the Court may consider documents
and matters “of which a court may take judicial notice.”7 Tellabs, Inc. v. Makor
Issues & Rights, Ltd., 551 U.S. 308, 322 (2007) (citations omitted).

II.    Libel
       A.      Burden of Proving Falsity
       “Under Georgia law, a claim for defamation has four elements: (1) a false and

defamatory statement concerning the plaintiff; (2) an unprivileged communication
to a third party; (3) fault by the defendant amounting to at least negligence; and
(4) special harm or the actionability of the statement irrespective of special harm.”
American Civil Liberties Union v. Zeh, 312 Ga. 647, 650 (2021) (citation omitted).
When speech is made about a matter of public concern, the plaintiff must prove fault
and falsity. Philadelphia Newspapers, Inc. v. Hepps, 475 U.S. 767, 776 (1986). A
statement is one of public concern when it can “be fairly considered as relating to
any matter of political, social, or other concern to the community.” Id at 453. Thus,
at the motion to dismiss stage, “the crucial burden on a plaintiff in making a

7
 The articles and reports are provided under judicial notice to illustrate the existence
of public discourse over assertions of genocide in Gaza. The articles are not germane
to this motion, and in the event the Court chooses not to consider them, the motion
stands on its own solely based on the citations to the Amended Complaint.
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defamation or defamation-type claim is to show the falsity of the statements made.”
Brock v. Viacom Int'l, Inc., 2005 U.S. Dist. LEXIS 12217, at *13 (N.D. Ga. Feb. 28,

2005) (dismissing complaint because “[e]ven liberally construing their complaint in
the best possible light . . . , the court can find no set of facts that the plaintiffs could
prove that would demonstrate that the statements . . . were false.”).

       Here, the speech at issue is of public concern. The debate regarding Israeli’s
actions in Gaza, the rights of the Palestinian people, and the ongoing humanitarian
crisis have been a matter of intense American and international debate since October

2023 when the conflict began. Because CAIR GA’s statements are regarding matters
of public concern, it is Dr. Winer’s burden to show that those statements are false.
       B.     Opinion

     The Supreme Court observed at the outset of its opinion in Gertz:

     Under the First Amendment there is no such thing as a false idea. However
     pernicious an opinion may seem, we depend for its correction not on the
     conscience of judges and juries, but on the competition of other ideas.
Gertz v. Robert Welch, Inc., 418 U.S. 323, 339–40 (1974). The logic is simple: a
defamation is actionable only if it is false; opinions cannot be false; therefore, opinions
are not actionable. Indeed, “[t]he expression of opinion on ‘matters with respect to

which reasonable men might entertain differing opinions’ is not libelous.” Bergen v.
Martindale-Hubbell, 176 Ga. App. 745, 747 (1985). Nonetheless, if an opinion can
reasonably be interpreted, according to the context of the entire writing in which it

appears, to state defamatory facts about the plaintiff that could be proven false, then
an action for defamation may still proceed. Milkovich v. Lorain Journal Co., 497


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U.S. 1, 18 (1990). “The pivotal questions are whether [the challenged] statements
can reasonably be interpreted as stating or implying defamatory facts about

plaintiff and, if so, whether the defamatory assertions are capable of being proved
false.” Jaillett v. Ga. Tv Co., 238 Ga. App. 885, 890 (1999). Whether a given
statement constitutes fact or opinion is a question of law. Old Dominion Branch No.

496, Nat’l Assoc. of Letter Carriers v. Austin, 418 U.S. 264, 283–84 (1974).
      Speech about politics and public controversy and impassioned statements
“heavily laden with emotional rhetoric and moral outrage” are not likely to be

perceived as factual. Milkovich, 497 U.S. at 32 (Brennan, J. dissenting); Bennett v.
Hendrix, 2007 U.S. Dist. LEXIS 102156, at *10 (N.D. Ga. 2007) (Thrash, J.)
(Dismissing complaint because flyers “however offensive - were political speech of

the highest order and deserving of the highest protection.”); Koch v. Goldway, 817
F.2d 507, 509 (9th Cir. 1987) (statement is more likely to be opinion when the
“surrounding circumstances” are “those of a heated political debate, where certain
remarks are necessarily understood as ridicule or vituperation . . .”); Hoppe v. Hearst
Corp., 53 Wash. App. 668, 675, 770 P.2d 203, 207 (1989) (“In the context of an
ongoing political controversy, ‘the audience is prepared for mischaracterizations and
exaggerations, and is likely to view such representations with an awareness of the
subjective biases of the speaker.’”). The forum and context of the speech also factor
into whether the speech is perceived as fact or opinion. See Glob. Telemedia Int’l,
Inc. v. John Doe 1, 132 F. Supp. 2d 1261, 1267 (C.D. Cal. 2001) (Internet postings
“are full of hyperbole, invective, short-hand phrases and language not generally found
in fact-based documents”); Ganske v. Mensch, 480 F. Supp. 3d 542, 545 (S.D.N.Y.
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2020) (“If the Internet is akin to the Wild West, . . . Twitter is, perhaps, the shooting
gallery, where verbal gunslingers engage in prolonged hyperbolic crossfire.”); Mirza

v. Amar, 513 F. Supp. 3d 292 (E.D.N.Y. 2021) (“Yelp” review); Harris v. Warner,
255 Ariz. 29, 36 (2023) (political talk radio).
             1.     Whether the Statements Are Provably False

                    a)     The Statements at Issue
      The Amended Complaint identifies six alleged statements that Dr. Winer
alleges are false, defamatory, and attributable to CAIR GA:

 . . .one of the professors of medicine we have at Emory recently went       ¶¶ 118, 123.
 to serve as a volunteer medic in the Israeli Offense Force [sic] and
 recently came back. This man participated in aiding and abetting a
 genocide, in aiding and abetting the destruction of the healthcare
 system in Gaza and the murder of over 400 healthcare workers, and
 is now back at Emory so-called teaching medical students and
 residents how to take care of patients. I mean the disconnect is, for
 me, very obvious.
 . . . You just heard from Umaymah Mohammad, an Emory student                ¶¶ 86, 121.
 unjustly suspended from Emory School of Medicine for her
 advocacy for Palestine. It is evident that at Emory[], voicing support
 for victims of human rights violations is swiftly punished . . . [The
 fact] that faculty and students join support for Israel’s perpetration of
 war crimes is conveniently ignored or covered up.
 Petition template to Emory: “I’m alarmed by the institution’s               ¶ 124.
 endorsement of faculty like Dr. Joshua Winer, who recently served in
 the Israeli Defense Forces. Is supporting genocide and war crimes
 more acceptable at Emory than resisting them?”
 . . . I have been suspended for a year from medical school after being      ¶¶ 61, 116.
 subjected to a six-month unjust conduct process. They disciplined me
 for exposing Emory’s complicity in the destruction of Gaza in an
 interview where I mentioned an unnamed physician who served in
 the military, actively engaged in the genocidal campaign against the
 Palestinian people. My people. . . Having a physician faculty member
 who participated in a military convicted of committing genocide
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 against Palestinians makes me feel unsafe. It makes black and brown
 medical students feel unsafe. It makes black and brown indigenous
 patients feel unsafe. . .
 You have a Palestinian medical student who specifically joined the        ¶ 125.
 field trying to understand inequities and the role of medicine in
 violence. To have to work side by side with an IDF soldier is
 exacerbating, and makes it uniquely painful for her.
 Palestinian American student, Umaymah Mohammed, objected to               ¶ 125.
 working with an IDF soldier. Emory University unjustly suspended
 her. CAIR_Georgia will continue to support Umaymah Mohammed
 as she challenges Emory University and its medical professionals’
 complicity in the genocide in Gaza.
      Dr. Winer does not specify how or why these statements are false within the
actual count alleged against CAIR GA. See FAC, ¶¶ 119–27. Piecing together the
complaint, it appears that Dr. Winer asserts falsity because the Israeli army has not

been “convicted” of genocide. Id. ¶¶ 62, 64. He further alleges that it is false to
“impl[y] that Plaintiff is a racist” or that “Black and Brown students were not safe
in Plaintiff’s presence.” Id. ¶ 63. Dr. Winer states that his combat involvement was
“limited to situations in which his unit came under direct attack.” Id. ¶ 65. Notably
Dr. Winer does not deny that he served in combat in the Israeli army in Palestine; in
fact he publicized his combat service in his Times of Israel editorial. Id. ¶ 32–33.
Indeed, it was Dr. Winer’s op-ed that set this entire set of circumstances into action.
In short, Dr. Winer’s combat service in the IDF is a true fact that was disclosed, and
was the basis for all the statements at issue here.
                    b)     Statements Relating to “Genocide”
      In regard to the statements referring to “genocide,” the question is this: Would
an accusation, made on social media or in a press conference by a Palestinian-
American activist or rights organization, of “abetting a genocide,” “engaging in a
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genocidal campaign,” or “complicity in genocide” be reasonably understood to
disclose a false statement of fact about Dr. Winer?

      The references to genocide would be, unequivocally, perceived as the opinion
of the speaker. Dr. Winer appears to understand this himself. Citing to Ms.
Mohammed’s January 2024 email expressing her views that Israel was perpetrating

a genocide against Palestinians, Dr. Winer characterizes the content of that email as
“Mohammed’s political views about Israel and the United States” (id. ¶ 26); “views
consistent with those expressed in [Ms. Mohammed’s] academic writing” (id.);

“political rhetoric with which [Dr. Winer] vehemently disagreed” (id. ¶ 29), and
“political propaganda” (id.). Dr. Winer further describes the dispute in this case as
having escalated beyond “a disagreement with Plaintiff’s views,” based on Ms.

Mohammed’s “personal political agenda.” Id. ¶¶ 10, 29, 30, 40. Dr. Winer himself
could not be more clear: this lawsuit is about Defendants’ political speech.
      Moreover, Israel’s actions in Palestine have been characterized as genocidal
by numerous world leaders and scholars. Whether Israel is guilty of genocide (and,
ergo, whether IDF combat soldiers are also guilty of genocide) is a topic of current
international debate, not a fact that can be proven or disproven.
      This near-exact issue was discussed by a Delaware magistrate judge in
Gurmessa v. Genocide Prevention in Ethiopia, Inc., in which the statements at issue
accused the plaintiff of “support[ing] genocide, glorifying torture, lynching,
massacre, and ethnic cleansing of Amhara ethnic groups” in Africa. 2024 U.S. Dist.
LEXIS 141596, at *13–15 (D. Del. Aug. 8, 2024) (adopted in relevant part at
Gurmessa v. Genocide Prevention in Ethiopia, Inc., 2024 U.S. Dist. LEXIS 197686,
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at *4 (D. Del. Sep. 11, 2024). The court recommended dismissal of the claim, finding
that “ordinary readers . . . would understand [defendant’s] use of words like

“support[ing] genocide” as expressing its subjective interpretation of the tone and
objective of [plaintiff’s] social media posts,” and that “[t]hat interpretation . . . is not,
without more, objectively verifiable as true or false.” Id. at *15. The court expressly

rejected the plaintiff’s claim that “genocide is both well-defined and codified,”
finding instead that the word is an “amorphous phrase” that is “not objectively
verifiable as true or false.” Id. at *17. The magistrate noted that “genocide” is a

statement that is not actionable because it expresses a “subjective view, an
interpretation, a theory, conjecture, or surmise,” rather than one “claiming to be in
possession of objectively verifiable facts.” Id. (quoting Cousins v. Goodier, 283

A.3d 1140, 1155 n.84, 1157 n.99) (Del. 2022)).
       Just as an accusation of genocide is political opinion, so are the other similar
statements referenced in the lawsuit, including “destruction of Gaza’s healthcare
system” and complicity in “war crimes.” All such statements are opinion expressed
in moral outrage, based on the internationally documented death and destruction in
Palestine, by the very military in which Dr. Winer was proud to serve.
                     c)     Statements “Inferring” Racism
       In the February 11 press conference, Ms. Mohammed stated that Dr. Winer’s
participation in the Israeli army “makes black and brown medical students feel
unsafe” and “black and brown indigenous patients feel unsafe.” FAC, ¶ 61. Dr.
Winer asserts that these statements are libelous because they “impl[y] that Plaintiff
is a racist,” “falsely assert[] the Black and Brown students were not safe in Plaintiff’s
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presence,” and falsely assert that he “could not be trusted to provide medical care to
Black and Brown patients because he viewed them as disposable.” Id. ¶ 63.

      As an initial matter, the statements at issue do not assert that Dr. Winer is
“racist.” The statements assert that Dr. Winer’s participation in the Israeli army
makes his students and patients of color feel “unsafe,” a claim that is supported by

the context of Ms. Mohammed’s full speech, and which is obviously incapable of
being proven false. Dr. Winer could never prove that none of his students or patients
have felt unsafe as a result of his military participation in the Israeli army.

      Even if the statements did “infer” racism, they would not be actionable
because even a direct allegation of racism is incapable of provable, factual meaning.
See, e.g., Stevens v. Tillman, 855 F.2d 394, 403 (7th Cir. 1988) (holding that neither

general statements charging a person with being racist, unfair, unjust, nor references
to general discriminatory treatment, without more, constitute provably false
assertions of fact); Squitieri v. Piedmont Airlines, Inc., 2018 U.S. Dist. LEXIS
25485, at *12 (W.D.N.C. Feb. 16, 2018) (“Statements indicating that Plaintiff is
racist are clearly expressions of opinion that cannot be proven as verifiably true or
false”); Cousins, 283 A.3d 1140 (dismissing libel claim because allegations of racism
“turn on [defendant’s] personal view of what is racist” and are not “provably false,”
particularly because “America is in the midst of an ongoing national debate about
what it means to be racist”); Richards v. Union Leader Corp., 324 A.3d 908, 917
(N.H. 2024) (holding that various statements in an op-ed calling plaintiff a racist and
“white supremacist” were opinions about his political views when read in context).


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               2.     Remaining Statement
        The last of Dr. Winer’s cited statements does not contain any negative

statement about him. He cites to a March 24 Instagram post stating as follows:

       [A] Palestinian medical student [] specifically joined the field trying to understand
       inequities and the role of medicine in violence. To have to work side by side with
       an IDF soldier is exacerbating, and makes it uniquely painful for her.
FAC, ¶ 126. It is unclear what in this post could possibly be argued to be libelous.
III.    False Light
        In order to sustain a false light claim under Georgia law, a plaintiff must show

that the defendant knowingly or recklessly published falsehoods about him and
placed him in a false light that would be highly offensive to a reasonable
person. Smith v. Stewart, 291 Ga. App. 86 (Ga. Ct. App. 2008). In false light cases,

“the interest protected is clearly that of reputation, with the same overtones of mental
distress as in defamation.” Cabaniss v. Hipsley, 114 Ga. App. 367, 370 (1966). “[A]
constitutionally privileged statement of opinion cannot form the basis of a claim for
invasion of privacy by placing a person in a false light.” S & W Seafoods Co. v. Jacor
Broad. of Atlanta, 194 Ga. App. 233, 237 (1989). Here, all of the statements at issue
are protected opinion, and therefore cannot form the basis of a false light claim.

IV.     Civil Conspiracy
        Dr. Winer brought a claim for civil conspiracy based on CAIR GA’s alleged
agreement to defame Dr. Winer and place him in a false light. FAC, ¶¶ 162–76. The

Eleventh Circuit defines civil conspiracy as “an agreement between two or more
people to achieve an illegal objective, an overt act in furtherance of that illegal


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objective, and a resulting injury to the plaintiff.” McAndrew v. Lockheed Martin
Corp., 206 F.3d 1031, 1036 (11th Cir. 2000) (en banc).

      The only statements Dr. Winer has alleged as the basis for his civil conspiracy
claim against CAIR GA are statements that CAIR GA made or republished. FAC, ¶
170. Dr. Winer has not alleged that CAIR GA agreed to, took part in, or even had

any knowledge of any torts allegedly committed by any of the other Defendants. Id.
Therefore, the only at-issue statements supporting a claim for civil conspiracy
against CAIR GA are the same statements that form the bases of Dr. Winer’s

defamation and false light claims. Because Plaintiff’s underlying tort claims against
CAIR GA fail, his claim that they conspired to commit those torts also fails.
Mustaqeem–Graydon v. SunTrust Bank, 258 Ga. App. 200, 207 (2002) (“Absent the

underlying tort, there can be no liability for civil conspiracy.”).
V.    Civil Rights Claim Pursuant to 42 U.S.C. § 1985(3)
      Dr. Winer’s claim under the first clause of 42 U.S.C. § 1985(3) also fails.
FAC, ¶¶ 179–90. To state a claim, he must plausibly allege, inter alia, “(1) that
‘some racial, or perhaps otherwise class-based, invidiously discriminatory animus
[lay] behind the conspirators’ action,’ and (2) that the conspiracy ‘aimed at
interfering with rights’ that are ‘protected against private, as well as official,
encroachment.’” Bray v. Alexandria Women's Health Clinic, 506 U.S. 263, 267–68
(1993) (citations omitted). Here, Dr. Winer’s claim fails under both elements.

          A. Dr. Winer Failed to Plead that CAIR GA Conspired to Interfere
             with Rights Protected by Private Encroachment.



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      Dr. Winer alleges that Defendants conspired to deprive him of his rights to (1)
free speech, (2) freedom of association, and (3) freedom to access and participate in

professional and academic life on equal terms.8 FAC, ¶ 179. Where “the alleged §
1985(3) conspirators are private actors,” a plaintiff may only recover for
conspiracies that were “aimed at rights constitutionally protected against private

impairment.” Jimenez v. Wellstar Health Sys., 596 F.3d 1304, 1312 (11th Cir. 2010)
(citations omitted). As the Eleventh Circuit has explained: “These rights include
only select serious constitutional rights. … The only rights the Supreme Court has

expressly declared enforceable against private conspirators under § 1985(3) are the
right to interstate travel and the right against involuntary servitude.” Jimenez, 596
F.3d at 1312 (cleaned up); Prunty v. Arnold & Itkin LLP, 753 F. App’x 731, 736

(11th Cir. 2018) (“The only rights the Supreme Court has expressly declared
enforceable against private conspirators under § 1985(3) are the right to interstate
travel and the right against involuntary servitude.”) (quoting Jimenez, 596 F.3d at
1312); Shuler v. Swatek, 465 F. App’x 900, 903 (11th Cir. 2012) (“[T]he only claims
that have been recognized by the Supreme Court as viable under § 1985(3) against
private defendants are claims for deprivation of the right to interstate travel and
freedom from involuntary servitude.”).
      Because neither interstate travel nor the right against involuntary servitude are
at issue here, Dr. Winer has failed to state an actionable claim in Count IV.

8
  Dr. Winer acknowledges that his right to free speech and freedom of association
stem from the First Amendment (FAC, ¶ 184) but has not indicated any basis for his
claimed right to access and participate in professional and academic life on equal
terms.
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                    1. Dr. Winer failed to state a claim based on First Amendment
                       deprivations because the alleged conspiracy did not involve
                       the State nor did it aim to influence the State.
      “[A]n alleged conspiracy to infringe First Amendment rights is not a violation
of § 1985(3) unless it is proved that the State is involved in the conspiracy or that
the aim of the conspiracy is to influence the activity of the State.” United Bhd. of

Carpenters & Joiners, Local 610 v. Scott, 463 U.S. 825, 830 (1983). Dr. Winer has
not and cannot state a claim that CAIR GA conspired with the State or aimed to
influence the activities of the State.

      Indeed, the alleged conspiracy does not involve a state actor. Dr. Winer has
alleged a private conspiracy among non-governmental organizations and individuals
acting in their individual capacities. FAC ¶¶ 12–20, 179. Moreover, he does not

allege that the aim of the conspiracy was to influence the activity of the state, but
rather Emory University (a private school), the public, and Dr. Winer’s students. Id.
¶¶ 180, 185–86. Accordingly, Dr. Winer’s complained-of First Amendment
deprivations cannot substantiate his claim because the alleged conspiracy neither
involved a state actor nor sought to influence the activities of a state actor.

                    2. Dr. Winer failed to state a claim based on purported
                       employment-related deprivations because such alleged rights
                       are not cognizable under § 1985(3).
      Lastly, Dr. Winer’s purported “right[] to … freedom to access and participate
in professional and academic life on equal terms” (FAC, ¶ 179) is not cognizable

under § 1985(3). His Complaint does not identify a specific constitutionally
protected right as a predicate for his claim. It instead vaguely asserts a “constitutional

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right to pursue … employment” “as a physician and educator” and “equal access in
academic and professional spaces” without interference or denial of those purported

rights “based solely on discriminatory basis.” Id. ¶ 186(a), (d). Generously
construed, the Complaint invokes a federal right to be free from employment
discrimination by private actors, a right protected by Title VII.9 “Congress enacted

Title VII of the Civil Rights Act … to assure equality of employment opportunities
by eliminating those practices and devices that discriminate on the basis of race,
color, religion, sex, or national origin,” Alexander v. Gardner-Denver Co., 415 U.S.

36, 44 (1974), addressing precisely what Dr. Winer alleges in this case.
      The Supreme Court has expressly held that “deprivation of a right created by
Title VII cannot be the basis for a cause of action under § 1985(3).” Great Am. Fed.

Sav. & Loan Ass’n, 442 U.S. at 377–78; see also Jimenez, 596 F.3d at 1312 (“[T]he
Supreme Court has declared … the rights protected under Title VII insufficient to
form the basis of § 1985(3) actions against private conspirators.”) (citations
omitted); Gilmore v. Nat’l Mail Handlers Union Local, 318, 517 F. App’x 784,
788–89 (11th Cir. 2013) (“Conspiracies to violate rights protected by Title
VII … are not cognizable under § 1985(3).”).
      One particular instructive case is Jones v. Int’l Assoc. of Bridge Structural
Ornamental & Reinforcing Iron Workers. 864 F. Supp. 2d 760 (E.D. Wis. 2012). In
Jones, the court dismissed a plaintiff’s § 1985(3) claim where the asserted basis for

9
  Indeed, absent invoking a Title VII right, Dr. Winer would have no claim for
additional reasons. “Section 1985(3) provides no substantive rights itself; it merely
provides a remedy for violation of the rights it designates.” Great Am. Fed. Sav. &
Loan Ass’n v. Novotny, 442 U.S. 366, 372 (1979).
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relief was a conspiracy to discriminate against the plaintiff on the basis of his race
and religious beliefs by causing him to be denied employment by a third party. The

court construed the plaintiff’s claim as one arising under Title VII and explained:

      The plaintiff alleges that [defendants] conspired to discriminate against him
      on the basis of his race and religious beliefs in that they caused him not to be
      given [an employment] position. . . However, the “deprivation of a right
      created by Title VII cannot be the basis for a cause of action under § 1985(3).”
      []. “If a violation of Title VII could be asserted through § 1985(3), . . . the
      complainant could completely bypass the administrative process, which plays
      such a crucial role in the scheme established by Congress in Title VII.”[]
      Accordingly, the plaintiffs § 1985 claims . . . will be dismissed.
Id. at 770; see also Joyner v. Sanders, 2020 U.S. Dist. LEXIS 154128, at *12–13

(M.D. Ala. 2020) (granting motion to dismiss “[b]ecause the alleged co-conspirators
in this cause are all private actors and the only right at issue is the statutorily-created
right to the racially equal opportunity to make contracts [in furtherance of plaintiff’s

livelihood]”); Fox v. Cummins, Inc., 2020 U.S. Dist. LEXIS 74886, at *5 (S.D. Ga.
Apr. 27, 2020) (concluding plaintiff’s claim failed as a matter of law where plaintiff
claimed defendants, motivated by plaintiff’s status as a pregnant woman, conspired

to terminate her employment in violation of Title VII because private conspiracies
to violate rights protected by Title VII are not cognizable under § 1985(3)).
      Dr. Winer thus has failed to allege the deprivation of a right enforceable under

§ 1985(3), and the Court should dismiss Count IV.

          B. No Racial or Other Class-Based, Invidiously Discriminatory
             Animus Motivated Defendants.
      Additionally and alternatively, Dr. Winer failed to state a claim under the first
element of § 1985(3), which requires “some racial, or perhaps otherwise class-based,

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invidiously discriminatory animus behind the conspirators’ action . . .” Dean v.
Warren, 12 F.4th 1248, 1255 (11th Cir. 2021) (quoting Griffin v. Breckenridge, 403

U.S. 88, 102-03 (1971)). As the basis for class-based discrimination, Dr. Winer pled
that Defendants’ actions were based on his race or ethnicity (FAC, ¶¶ 179, 185, 187),
IDF military service (id. ¶¶ 181-85(a)), Zionist religious belief (id. ¶¶ 179, 182–

85(a), 187), Israeli citizenship (id. ¶¶ 182, 185, 187), and political beliefs (id. ¶ 187).
      Courts have routinely held that religious beliefs, national identity, and
political beliefs do not qualify as protected classes pursuant to § 1985(3). See Fiske

v. Lockheed-Georgia Co., Div. of Lockheed Corp., 568 F. Supp. 590 (N.D. Ga. 1983)
(holding that § 1985(3) does not reach politically motivated conspiracies); Smith v.
Turner, 764 F. Supp. 632, 1991 U.S. Dist. LEXIS 7131 (N.D. Ga. 1991) (explaining

that “§ 1985(3) does not provide remedy for “every concerted effort by one political
group to nullify influence of or do other injury to competing group by use of
otherwise unlawful means.”), Word of Faith World Outreach Ctr. Church v. Sawyer,
90 F.3d 118 (5th Cir. 1996), cert. denied, 520 U.S. 1117 (1997) (holding that
§ 1985(3) does not apply to conspiracies motivated by religious rather than racial
animus); Bauge v. Jernigan, 671 F. Supp. 709 (D. Colo. 1987) (holding that the
plaintiff’s claim of discrimination based on his Norwegian citizenship alone is not
within the scope of § 1985 protection). As foreign citizenship is not a protected class
for the purposes of § 1985(3) analysis, it follows that service to a foreign military
likewise fails to constitute a protected class.
      All that is left for the Court to determine is whether the allegation that
Defendants’ alleged conspiracy was motivated by Dr. Winer’s “Jewish identity.”
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FAC, ¶ 179. The motion to dismiss standard bears repeating here: A motion to
dismiss under Rule 12(b)(6) should be granted unless the complaint contains

“enough facts to state a claim for relief that is plausible on its face.” Bell Atl. Corp.
v. Twombly, 550 U.S. 544, 570 (2007). The “[f]actual allegations must be enough to
raise a right to relief above the speculative level,” and “labels and conclusions or a

formulaic recitation of the elements of a cause of action will not do.” Id. at 555;
Ashcroft v. Iqbal, 556 U.S. 662, 678–79 (2009).
      When read as a whole, the FAC reveals that Dr. Winer has no factual support

for his conclusory allegations that Defendants’ alleged conspiracy was motivated by
Dr. Winer’s racial or ethnic identity. To the contrary, these allegations are belied by
Plaintiff’s own assertions. Indeed, the FAC is replete with acknowledgements of the

Defendants’ actual motivation: expressing their political views. See FAC, ¶ 28
(“Mohammad’s political views about Israel and the United States were the basis of
the false and inflammatory statements she would later make regarding the Plaintiff
when she discovered that he served in the IDF.”) (emphasis added).10

10
   See also FAC, ¶ 29 (“Plaintiff was distraught when he received the SOM email,
which was rife with verifiably false information about Israel as well as political
rhetoric with which he vehemently disagreed.” and “[Dr. Winer] was further angered
by the fact that a student had exploited the School of Medicine’s listserv to
disseminate political propaganda.”), ¶ 30 (“Mohammad misused the School of
Medicine’s listserv to distribute the SOM Email to the entire faculty and student
body in furtherance of her personal political agenda.”), ¶ 40 (“Regardless of
Mohammad’s political views, the fact is that Israel is a legitimate sovereign state
and that the Israel-Gaza war began when Gaza’s terrorist government illegally
infiltrated Israel’s borders and committed the worst atrocities against Jewish people
since the Holocaust.”), ¶ 75 (“Therefore, it stands to reason that Mohammad could
have expressed her views on Palestine and the broader geopolitical conflict without
incurring suspension.”).
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      Rather than supporting a claim that Defendants acted with racial animus,
Dr. Winer’s purported factual support reveals the actual bases for Defendants’

protected speech. For example, Dr. Winer has alleged the following:

    “Defendants plotted, coordinated, and executed a common plan to deprive
     Plaintiff of his constitutional rights and privileges on account of his Jewish
     identity and/or Zionist beliefs, including his rights to freedom of speech,
     freedom of association, and freedom to access and participate in professional
     and academic life on equal terms.” Id. ¶ 179 (emphasis added).

    “The false claims of participation in genocide and war crimes were not
     predicated on any allegation of professional or any other misconduct, but
     rather on Plaintiff’s lawful military service, which is closely tied to his racial,
     political, ethnic, religious, and Israeli national identity.” Id. ¶ 181 (emphasis
     added).

    “The false claims of racism and apartheid were not predicated on any
     allegation of professional or any other misconduct, but rather on Plaintiff’s
     identity as a Jewish Zionist and an Israeli.” Id. ¶ 182 (emphasis added).

    “In framing Zionism as a colonial, racialized ideology equivalent to apartheid
     and genocide, Defendants provided the ideological foundation for the
     conspiracy to strip Plaintiff of his rights based solely on his association with
     Zionism as well as his service in the IDF.” Id. ¶ 183 (emphasis added).

    “By targeting Plaintiff for expressing his personal and religious experiences
     and political affiliations, Defendants sought to punish and deter the exercise
     of his First Amendment rights, including his freedom of speech and freedom
     of association — specifically, his right to associate with Zionism (his
     religious belief) and Zionist institutions, including the IDF, a lawful military
     institution and Israel, a close U.S. ally.” Id. ¶ 184 (emphasis added).

    “publishing knowingly false and defamatory statements accusing Plaintiff of
     genocide, war crimes, racism, and posing a danger to “black and brown”
     students and patients due to his racial, ethnic, or national identity as well as
     his military affiliation; . . .” Id. ¶ 185(a) (emphasis added).


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      Finally, and most fatally, Dr. Winer plainly and succinctly explains his

position regarding the animating force behind Defendants’ actions:

      Defendants’ actions were intended to deprive Plaintiff of the same rights and
      privileges afforded to others who were not similarly targeted based on their
      racial, political, ethnic, religious, or national identity.” Defendants’ campaign
      was driven by the erroneous and discriminatory belief that individuals
      affiliated with Zionism or Israel are inherently racist and complicit in
      apartheid, a crime against humanity, and that anyone affiliated in any way
      with the IDF is complicit in acts of genocide, ethnic cleansing, and colonial
      violence, and thus undeserving of equal access to academic and professional
      opportunities.

Id. ¶ 187 (emphasis added).

      A careful reading makes explicit that Dr. Winer understands that Defendants’

speech was rooted in their opposition to his military service in the IDF and political

affiliations with Israel, not his race or ethnicity. Accordingly, Defendants’ at-issue

speech was not motivated by racial or otherwise class-based, invidiously

discriminatory animus, and Count IV should be dismissed.

                                  CONCLUSION
      Dr. Joshua Winer chose to take a leave of absence and re-enlist in the Israeli

army for the express purpose of serving in Gaza where the devastating conflict that
has resulted in mass civilian casualties, the morality of which has been debated
relentlessly on the international stage. Dr. Winer then chose to publicize his combat

service in a self-authored editorial in a national publication. He then went back to
his teaching position, apparently expecting that these actions would be applauded by
all, including his Palestinian-American students.
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       One such student, Umaymah Mohammed, responded, predictably, with moral
outrage. Dr. Winer is clear in his complaint—he thinks she should have kept her

outrage, and the rest of her political beliefs, to herself.
       Her university agreed. Ms. Mohammed was severely punished by Emory for
her advocacy. But that was not enough. Dr. Winer now asks this Court to intensify

the punishment, not just for Ms. Mohammed, but for every organization that stood
by her side and brought awareness to her suspension. Dr. Winer’s complaint seeks
punitive damages, a takedown of CAIR GA’s advocacy speech, and a prior restraint.

The goal here is clear—to intimidate Ms. Mohammed, CAIR GA, and the remaining
defendants—to silence their political speech resulting from the decisions he made
and publicized within the context of the most high-profile international conflict of

our times.
       The law is unequivocal—the Constitution protects political speech, advocacy,
and opinion. His lawsuit must be dismissed, and the punishment must stop.

       “The dissemination of the individual’s opinions on matters of public interest
       is for us, in the historic words of the Declaration of Independence, an
       unalienable right that governments are instituted among men to secure.”

       Curtis Publ’g Co. v. Butts, 388 U.S. 130, 149 (1967).


       Respectfully submitted this 27th day of June, 2025.

                                          BUCHALTER APC

                                          /s/ Amanda G. Hyland
                                          Amanda G. Hyland

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            CERTIFICATE OF COMPLIANCE WITH L.R. 5.1

      I HEREBY CERTIFY that the foregoing document was prepared in Times

New Roman, 14-point font, as approved by Local Rule 5.1.

                                    /s/ Amanda G. Hyland
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